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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       Criminal No. 22-20 (ADM/JFD)

 UNITED STATES OF AMERICA,

                    Plaintiff,
                                              GOVERNMENT’S
       v.                                     CONSOLIDATED RESPONSE TO
                                              DEFENDANT WARE’S PRETRIAL
 MARION QUINTEL WARE,                         MOTIONS

                    Defendant.


      The United States of America, by and through its attorneys, Charles J. Kovats,

Jr., Acting United States Attorney for the District of Minnesota, and Harry M. Jacobs,

Assistant United States Attorney, respectfully submits the following consolidated

response to defendant’s pretrial motions.

I.    BACKGROUND

      Ware is charged with one count of Carjacking, in violation of 18 U.S.C. §§

2119(1) and 2.

      On June 15, 2021, Ware arranged to meet up with an acquaintance. Ware and

that individual agreed to get together to smoke marijuana and the individual picked

up Ware in his car. After the individual picked Ware and another unknown person

up, Ware pointed a gun at the individual and indicated that he was going to take

everything the individual had on him. The individual was able to escape the car. Ware

and the unknown person drove away with the individual’s car, wallet, and cell phone.

      Approximately two weeks later, Minneapolis police saw Ware driving the car,

which had subsequently been reported stolen. Officers tried to stop the car, but Ware
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fled. Ware ultimately crashed the car into a median and fled on foot. Officers located

and arrested Ware after a brief chase.

II.    DEFENDANT’S DISCOVERY MOTIONS

       Defendant Ware has filed several general discovery motions. These motions

appear to be of the boilerplate variety and do not relate to any ongoing disputes

regarding the government’s discovery. Accordingly, the government does not intend

to present any witness testimony regarding these motions during the motions

hearing.

       A.    Defendant Ware’s Motion for Discovery (Dkt. No. 16)

       Defendant Ware has moved for an order for discovery pursuant to Rule 16 of

the Federal Rules of Criminal Procedure. The government has made its Rule 16

disclosures and will continue to supplement its disclosures as additional materials

comes into its possession. Defendant has not identified any evidence or materials, or

category of evidence or materials, to which he is entitled that has not already been

produced by the government. For its part, the government does not believe there is

any.

       B.    Defendant Ware’s Motion to Retain Rough Notes (Dkt. No. 17)

       Defendant Ware has moved for an order requiring any law enforcement agent

to retain and preserve—but not produce—all rough notes taken as part of this

investigation. The Government does not object to requiring the law enforcement

officials involved in the investigation of this case to retain and preserve their rough

notes and has already instructed the agents to do so.



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      However, the Government does object to any future request that agent rough

notes be disclosed without further proceedings. In this Circuit, rough notes are

generally not considered statements within the meaning of the Jencks Act. United

States v. Redding, 16 F.3d 298, 301 (8th Cir. 1994) (concluding that rough notes are

not a statement of witness as there was no evidence that the witness signed, adopted,

or approved of agent’s notes); United States v. Shyres, 898 F.2d 647, 657 (8th Cir.

1990) (defendant not entitled to discover government agents’ general notes from

witness interviews). Nor are agent rough notes automatically discoverable as a

“statement” of the agent. See United States v. Simtob, 901 F.2d 799, 808-09 (9th Cir.

1990) (defendant not entitled to discover testifying agent’s destroyed rough notes of

investigations as Jencks Act material when notes merely represented pieces of

information put in writing to refresh memory); United States v. Williams, 875 F.2d

846, 853 (11th Cir. 1989) (defendant not entitled to discover agents’ personal notes,

contact sheets, witness lists, summaries of non-testifying witnesses’ statements when

bulk of material not relevant to subject matter of agents’ testimony); United States v.

Bernard, 623 F.2d 551, 558 (9th Cir. 1979) (Jencks Act not intended to cover rough

surveillance notes).

      Although Defendant Ware is not asking for disclosure of rough notes at this

time, before ordering any disclosure of such notes in response to a future request, the

Court should, at a minimum, conduct an in camera review to determine whether,

among other things, the notes relate to the substance of the agent’s testimony on

direct exam. Simtob, 901 F.2d at 808-09; Bernard, 623 F.2d at 557.


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      C.     Defendant Dunn’s Motion for Disclosure of 404(b) Bad Acts
             Evidence (Dkt. No. 18)

      Defendant Ware has moved for an order directing the Government to disclose

any “bad act” or “similar course of conduct” evidence it intends to offer at trial

pursuant to Rule 404(b). Defendant Ware requests that the Government provide

notice of its intent to use Rule 404(b) evidence 30 days in advance of trial.

      The Government acknowledges its obligation to give notice under Rule 404(b)

and does not object to a deadline to provide disclosure 30 days before trial.

      The Government also requests that any order be strictly drawn to require no

more than what is encompassed by Rule 404(b). Specifically, Rule 404(b) does not

encompass acts that are “intrinsic” to the charged offense. Fed. R. Evid. 404 advisory

committee’s notes, 1991 Amendments. If conduct of a defendant is an “intrinsic” part

of any of the charged offense but could otherwise be considered a “bad act,” then Rule

404(b) does not contemplate that notice of such evidence be given. The distinction is

an important one, as the defense may claim that the government must give notice of

every “bad act” it intends to introduce, which is not so. United States v. Adediran, 26

F.3d 61, 63 (8th Cir. 1994) (standards applicable to evidence considered under Rule

404(b) do not apply to such “inextricably intertwined” evidence).




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III.   CONCLUSION

       Based on the foregoing, the government respectfully requests that Defendant’s

motions be disposed of as described above.



                                             Respectfully Submitted,

Dated: March 10, 2022                        CHARLES J. KOVATS, JR.
                                             Acting United States Attorney

                                              /s/ Harry M. Jacobs
                                       BY:   HARRY M. JACOBS
                                             AMBER M. BRENNAN
                                             Assistant U.S. Attorneys




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